Case 2:23-ap-01426-DS          Doc 11 Filed 11/22/23 Entered 11/22/23 11:36:01                    Desc
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  4
      Attorneys for Creditor Complete Industrial Repair, Inc.
  5                                                                      CLERK U.S. BANKRUPTCY COURT
                                                                         Central District of California
                                                                         BY bakchell DEPUTY CLERK

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  8                               UNITED STATE BANKRUPTCY COURT

  9                  CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

 10         In re:                                           Case No. 2:23-bk-13864-DS

 11         TOBY EDWARD TORRES,                              Chapter 7
 12                                      Debtor.             Adv. No. 2:23-ap-01426-DS
 13
            COMPLETE INDUSTRIAL REPAIR, INC.,
                                                             ORDER DENYING MOTION FOR
 14
                                         Plaintiff,          ORDER DISMISSING ADVERSARY
 15                  v.                                      COMPLAINT

 16         TOBY EDWARD TORRES,
                                                             Hearing
 17                                      Defendant.          Date: November 16, 2023
                                                             Time: 11:30 a.m.
 18                                                          Place: Courtroom 1639 (via ZoomGov)
                                                                    255 E. Temple St.
 19                                                                 Los Angeles, CA 90012
 20              The court held a hearing at the above time and place on the “Motion for Order

 21   Dismissing Adversary Complaint for Failure to State a Claim” (the “Motion,” Docket No. 3).

 22   Appearances were noted on the record.

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  1          After reviewing and considering the Motion, the statements and arguments made by

  2   counsel at the hearing, and the record in this case, for the reasons stated on the record at the

  3   hearing,

  4          IT IS HEREBY ORDERED as follows:

  5          1.      The Motion is denied. The Defendant must file an answer to the complaint

  6   (Docket No. 1) no later than December 13, 2023.

  7          2.      The status conference currently scheduled for November 30, 2023 at 11:30 a.m. is

  8    rescheduled to February 1, 2024 at 11:30 a.m.

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 24 Date: November 22, 2023
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